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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISIO N

CHRISTOPHER GREEN ,

                     Petitioner ,                      CIVIL ACTION NO. : CV506-045

              V.

UNITED STATES OF AMERICA ,                             (Case No . : CR597-3)

                     Respondent.


                                         ORDE R


       Petitioner, an inmate at the Federal Correctional Institution in Edgefield, South

Carolina, has filed an action under 28 U .S.C. § 2255 which the Court has reviewed .

Petitioner attacks a judgment of conviction obtained in this Court on October 21, 1997, in
Case Number CR597-3 . Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, the Court hereby Orders the United States Attorney to file an answer within

thirty (30) days stating what records and documents need to be produced in order to fully

respond to the motion . The government shall also include in this response its position

regarding the need for expansion of the record authorized by Rule 7, evidentiary hearing

authorized by Rule 8, and any additional discovery necessary as authorized by Rule 6 of the
Rules Governing Section 2255 Proceedings .

       The Clerk of Court is hereby authorized and directed to forward a copy of this Order

and a copy of Petitioner's Motion for Relief to the Savannah Office of the United States

Attorney for the Southern District of Georgia .
       SO ORDERED , this _&-day of July, 2006.



                                                   MES E . GRAHAM
                                                  NITED STATES MAGISTRATE JUDGE
